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, ' _ » 16-2016-CA-007685-XXXX-MA

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IN THE CIRCUIT COURT, FOURTH

 

IUDIClAL CIRCUI'I`, `IN AND FOR
DUVAL COUNTY, FLOR.IDA
CASE NG.:
DIVISION:
ELlZABETH E. KATZ,
Plaintiff,
V.
LOREN Z. CLAYMAN, M.D.,
LOREN Z. CLAYMAN, M.D., P.A.,
a Florida eorporation,
ALLERGAN, lNC.,
a foreign corporation,
ALLERGAN SALES, LLC,
a foreign limited liability company, and
ALLERGAN USA, INC.,
a foreign corporation,
Defendants.
/
QQM_MM

The Plaintiff`, ELIZABE'I`H E. KATZ, sues the Defendants, LOREN Z. CLAYMAN,
M.D., LOREN Z. CLAYMAN, M.D., P.A., a Florida corporation, ALLERGAN, lNC., a
foreign corporation, ALLERGAN SALES, LLC, a foreign limited liability company, and

ALLERGAN USA, [NC., a foreign corporation, and alleges the following:

GENERAL ALLEGATIONS
l. This is an action for damages in excess of $15,000, exclusive of attorney’s fees,
costs, and interest
2. All conditions precedent to the filing of this action have been performed or have

occurred.

3. At all times material hereto, the Plaintiif, ELIZABETH E. KATZ (hei'einaf`ter

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“Ms. Katz”), was and is a resident of, and permanently domiciled in, Middleburg, Clay County,
Florida.

4. At all times material hereto, the Defendant, LOREN Z. CLAYMAN, M.D.
(hereinafter “Loren Z. Clayman”), was and is a resident ofJaeksonviIle, Duval County, Florida.

5. At all times material hereto, Loren Z. Ciayman was and is a physician licensed to
practice medicine by the State of .Florida, who was and is practicing medicine in Duval County,
.Florida at his principal place of business located at 1801 Barrs Street, Suite 200, Jacksonville,
Florida 32204 and/or 2 Shircliff Way, Suites 200-220, Jacksonville, Florida 32204.

6. At all times material hereto, Loren Z. Ciayman held himself out as a specialist in

the area of plastic surgery.

7. At all times material hereto, the Defendant, _LOREN Z. CLAYMAN, M.D., P.A.
(hereinaf`ter “Clayman PA”), was and is a Florida corporation, with its principal place of
business at 1801 Barrs Street, Suite 200, Jacksonville, Florida 32204 and/or 2 Shirclifi` Way,
Suites 200-220, lacksonville, .Florida 32204.

8. At all times material hereto, Loren Z. Clayman was and is an employee, agent or
apparent agent of Clayman PA; at all times material hereto, Loren Z. Clayman was acting in the
course and scope of his employment, agency or apparent agency with Clayrnan PA.

9. 'l.`he Defendant, ALLERGAN, INC., is a foreign corporation existing and
operating under the laws of the State of Delaware, with its principal place of business and
permanent domicile at 2525 Dupont Drive, Irvine, Caiifomia 926l2.

10. The Det`endant, ALLERGAN, INC., is authorized to do business in the State of
Florida, and has and is doing business in the State of Florida, to-wit: researching, testing,

designing, developing, manufacturing marketing, promoting, distributing, selling, or otherwise

 

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placing into the stream of commerce medical devices and/or pharrnaceuticals, including but not
limited to, Allergan Natrelle saline filled breast implants and warranties for same, in
Jacksonville, Duval County, Florida.

l l. The Defendant, A.LLERGAN, lNC., may be reached for service of process in the
State of Florida through its registered agent, C'l` Corporation System at 1201 Hays Street, Suite
105, Tallahassee, Florida 3230|.

12. The Def`endant, ALLERGAN SALES, LLC, is a foreign limited liability
company, with its principal place of business and permanent domicile at 2525 Dupont Drive,
lrvine, California 92612.

.13. 'l`he Defendant, ALLERGAN SALES, LLC, is authorized to do business in the
State of Florida, and has and is doing business in the State of Florida, to-wit: researching,
testing, designing, developing, manufacturing marketing, promoting, distributing, selling, or
otherwise placing into the stream of commerce medical devices and/or pharrnaceuticals,
including but not limited to, Allergan Natrelle saline filled breast implants and warranties for
same, in Jaclcsonville, Duval County, Flon'.da.

l4, ’l`he Defendant, ALLERGAN SALES, LLC, may be reached for service of
process in Florida through its registered agent, CT Corp. System, at 1200 South Pine Island
.Road, Plantatio.n, .Florida 33324.

15. The `Defendant, ALLERGAN USA, INC., is a foreign corporation existing and
operating under the laws of the State of Delaware, with its principal place of business and
permanent domicile at 2525 Dupont Drive, lrvine, California 92612.

16. The Det`endant, ALLERGAN USA, INC., is authorized to do business in the

State of Florida, and has and is doing business in the State of Florida, to~wit: researching,

 

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testing, designing, developing, manufacturing marketing, promoting, distributing selling, or
otherwise placing into the stream of commerce medical devices and/or pharmaceuticalls1
including but not limited tc, Allergan Natrelle saline filled breast implants and warranties for
same, in lacksonviile, Duval County, Florida.

17. The Defenclant, ALLERGAN USA, lZNC., may be reached for service of process
in Flon`da through its registered agent, CT Corp. System, at 1200 South Pine Island Road,
P|antation, Florida 33324.

18. 'l`he Dei`endants, ALLERGAN, I`NC., ALLERGAN SALES, LLC, and
ALLERGAN USA, lNC., are hereinafter collectively referred to as “Allergan.”

PROCEDURAL ALLEGATIONS

19. On or about .lanuary 13, 2016, ,M`s. Katz caused to be filed a Petr'tion to Clerkfor
90-Day Extension of Statute of Limitations in the Circuit Court, Fourth Judicial Circuit, in and
for Duval County, Florida, Case No.: 16-2016-CA-000222-XXXX-MA.

20. On or about August 10, 2016, Ms. Katz caused to be mailed and served via
Certitied U.S. Mail, Return Receipt Requested, a Notice of latent to !nftiate Litigati'on for
Medc'cal M`alpracn'ce upon Lonen Z. Clayman and Clayman PA pursuant to the authority of
Section 766.106, Florr'da Statutes, and Rule 1.650, Florida Rirles of Civr`l Procedure. On or
about August l.i, 2016 and August ]2, 2016, the applicable Notices were received by Loren Z.
Clayrnan and Clayman PA, respectively, or by representatives bearing a legal relationship to
him/it.

21. By a letter dated November 8, 2016, Loren Z. Clayman and Clayman PA

(hereinatler collectively referred to as the “Clayman Defcndants”), by and through their

 

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authorized attorneys and representatives, made an offer to settle Ms. Katz’ claims in amount that

she rejected

22. Ms. Katz has complied with all conditions precedent and pre-suit requirements for
the filing of the instant lawsuit.

FACTUAL ALLEGAT[ONS
Allergan’s Natrelle Saline Filled Breast I`mplants

23. In 1962, two 'I`exas plastic surgeons performed the first breast augmentation
surgery using silicone gel filled impiants. ln 1963, Dow Corning began manufacnn'ing silicone
gel filled breast implants based upon the Texas doctors’ designs

24. Donald K. McGhan worked at the laboratory where Dow Coming first made
breast implants ln 1974 he founded McGhan Medical Corp., which began marketing silicone
filled breast implants in 1975.

25. ln 1986 McGhan Medical Corp. merged with First America Corporation,
changing its name to lnamed. T.he new company’s breast implants were still labeled McGhan
breast implants By this time the company was one of the largest breast implant manufacturers
in the world.

26. As a result of emerging safety concerns, in 1988 the United States Food and Drug
Administration (FDA) re-classified silicone gel filled breast implants as C|ass 111 medical
devices, which then required breast implant manufacturers to submit Pre-Market Approvai

(PMA) applications to the FDA to prove by valid scientific data that their respective implants

were safe and effective

 

 

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27. After reviewing the PMA applications of the di&”erent silicone breast implant
manufacturers (including those of Inarned/McGhan), in 1992 the FDA prohibited the sale of
silicone breast implants

28. ln 1994, a $4 billion class action lawsuit over silicone filled breast implants was
settled Inamed contributed approximately $32,000,000 toward the settlement

29. ln 1998, lnamed removed and replaced Donald K. McGhan from his position as

chairman and chief executive of the companyl

30. 011 November 16, 1999, Inamed filed a PMA for the “McGhan Medical RTV
Saline-Fil|ed Breast Implant,” later known as the “Natrelle Saline-Filled Breast lrnplant.” On
M.ay 10, 2000, the FDA issued a letter approving the PMA.

31. ln March of 2006, lnamed merged with Allergan, Inc., a company that makes
products for eye care, neuroscience and dermatology, including its best known product, Botox,
the injectable wrinkle treatment Afterward, McGhan Natrelle Saline Filled Breast Implants
became known as “Allergan Natrelle Saline Fill.ed Breast Irnplants.”

32. On November I'/‘, 2006, the FDA approved .PMA’s from both A_liergan and
Mentor (Allergan’s main U.S. competitor in the design and manufacture of breast implants) for
new silicone filled breast implants

33. On February 20, 20]3, the FDA approved Allergan, l`nc.’s .PMA for the Natrelle
410, anatomically shaped highly cohesive silicone gel*filied breast implants, a type of breast
implants that are commonly referred to as “gummy bear” implants The new implants were

softer, more cohesive, and more anatomically shaped than saline filled implants

 

' McGhan is currently serving the remainder of a lO-year prison sentence in Texas for wire
fraud in relation to a scheme in which he attempted to use real estate investors’ money for

another breast implant business

 

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34. lo the last several years, silicone gel-filled implants have become the most

commonly used types of breast implants in the U.S.
Cont'rdencePlus Warranty
35. With all Natrelle breast implants, Inamed/Allergan included its “ContidencePlus
Warranty.” According to the ConfideneePlus warranty literature provided by Allergan, the
warranty program applied to all FDA-approved Natrelle breast implants, provided the implants
were used:
v As intended by appropriately qualified and licensed surgeons, in accordance
with current and accepted plastic surgery techniques
¢ .ln accordance with the current Natrelle Breast Implant Directions for Use,
found at www.allergan.com/labeling/usa.htm.
However, the warranty only applied to cases o.f:
¢ Loss of shell integrity, resulting in implant rupture or defiation that
requires surgical intervention
¢ Capsular contracture (Balcer Grade IIl/IV) with Na!relle Gel implants that
requires surgical intervention
36. Under Allergan’s C'onjidencePlus Warranty Matrr`x, the Standard warranty comes
with Natrelle implants free of additional cost, while the Premier warranty cost an additional 3100
until 2014, and $200 thereafter; both warranties have terms of coverage of 10 years. The
Standard warranty provides for a lifetime replacement of the ruptured implant, replacement of
the contralateral implant (for 10 years)z, and $l,200 for the cost of replacement/revision surgery.

The Premier warranty provides for lifetime replacement of both the ruptured and contralateral

implants, plus $2,400 for the cost ofreplacemenb'revision surgery.

 

2 At first, only Natrelle Ster 163 saline filled implants had lifetime replacement for
contralateral breast implants; other Natrelle saline filled implants had only a 10 year warranty for
contralateral implants Beginning .lune 1, 2009, the Standard warranty was changed to provide
for the lifetime replacement of contralateral breast implants for all Natrelle saline filled implants.

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Clayman Defendants §§

37. Loren Z. Clayman was first licensed as a medical doctor in the State of Florida on
January 10, 1975. On Decernber 31, 1976, he completed a residency in plastic surgery, and he
began practicing plastic surgery soon afterward in Jacksonville, Florida. On October 2, 1978, he
filed articles of incorporation for Clayman PA, with himself listed as both President and the
Registered Agent of the new corporation

38. Loren Z. Clayman began performing breast augmentation surgeries as part of his
plastic surgery practicel During the 1980’5, a substantial portion of the breast augmentation
procedures he performed were with silicone filled breast implants.

39. At`ter the FDA prohibited the sale of most silicone implants in 1992, boren Z.
Clayman began using saline filled implants almost e>tclusively.3

40. By 2000, Loren Z. Clayman purchased at least a portion of the saline filled breast
implants he used in augmentation procedures from lnamedchGhan (later Allergan). 'I`he
majority (it` not all) of saline filled breast implants her purchased from lnarned/McGhan were
Natrelle saline filled breast implants.

4l. Bef`ore Ms. Katz first consulted with `Loren Z. Clayrnan regarding breast
augmentation, he began making a higher than average number of warranty claims for patients
with saline filled implants lo the vast majority of these claims, Loren Z. Clayman and/or
Clayman PA alleged that one or more saline implants spontaneoust ruptured/deflated through

no fault of the patient or him. Furtherrnore, Loren Z. Clayman and/or CIayrnan PA began

making multiple, successive warranty claims for many of his/their patients

 

3 Silicone filled breast implants could only be used for patients participating in ongoing
medical studies, although it is unknown whether any of Loren Z. Clayman’s patients participated

in the studies

 

 

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42. Even after the FDA once again permitted the sale of silicone filled breast implants
in 2006, Loren Z. Clayrnan and/or Clayman PA continued using saline filled breast implants
almost exclusively for breast augmentation procedures

43. After .`lune 30, 2008, Loren Z. Ciayman’s son, Mark A. Clayrnan, M.D., joined
Clayman PA and began practicing plastic surgery, including performing breast augmentation
procedures .For patients who received saline filled breast implants, Mark A. Clayman, M.D. also
began making a higher than average number of warranty claims in which he alleged spontaneous
ruptures/dcilations through no fault of the patient or him. Lil<ewise, in many instances Mark A.
Clayrnan, M.D. made multiplc, successive warranty claims for patients and he rarely if ever

~ used silicone filled implants for breast augmentation procedures

44. Betwcen 2001 and 2015, Clayman PA made warranty claims to Allergan for
5,516 gairs of Natrelle saline filled breast implants

45. According to Allergan’s follow up studies for Natrelle saline filled implants the
rate of spontaneous deflations is approximately 2.7 to 6.8% at 5 years, and approximately 10 to
13.8% at 10 years, averaging roughly l .2% per year.

46. Pursuant to 21 C.F.R. §§ 814.80 and 8}4.82, Allergan has a continuing obligation
to evaluate the “safety, effectiveness and reliability” of medical devices such as Allergan
Natrelle saline filled breast implants ln accordance with these requirements Allergan performs
a “Labcratory Analys£s” of each returned breast implant to determine the cause of an alleged
rupture/deflation, after which a report is generated and maintained For the overwhelming
majority of saline filled breast implants returned by Clayman PA to Allergan, Allergan found no

identifiable causes for the claimed spontaneous rupmres/deflations.

 

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47, Nevertheless, to the best of the undersigned’s knowledge and belief`, Allergan

paid every one of Clayrnan PA’s warranty claims between 2001 and 201 5.
ELIZABETH E. KA'I‘Z

48. On April 9, 2009, Ms. Katz (forrnerly Patten) presented to Loren Z. Clayman for a
new patient consultation for breast augmentation In the intake forms completed by Ms. Katz,
She wrote that she wanted to discuss a breast augmentation and “.nose surgery” because her
breasts were “too small after breastfeeding” and her nose was “too big." Loren Z. Clayman
failed to document any physical examination, any findings from a physical examination, any
measurements of her breasts, any measurements of her nose, and any discussion of her clinical
options Instead, there is a surgical estimate for “Augme.ntation Mammoplasty” for the total
price of $3,750.00, as well as a second surgical estimate for “Rhinoplasty” for the total price of
$2,500.00.

49. On May 15, 2009, Ms. Katz presented for her first breast surgery with Lorcn Z.
Clayman at his office 'l.`here is no surgical intake sheet in Loren Z. Clayman’s records for Ms.
Katz, but on another form dated May 15, 2009, she stated that her bra size was 36 B, that her
breasts sagged, that she wanted to be a D cup, but that she wanted to know how the implants
would affect her ability to perform breast cancer self-examinations ln an operative note of the
same dato, Loren Z. Clayman documented an augmentation procedure in which he placed
Allergan Natrelle Style 68 High .Protile 4650c saline implants into her breasts at a subpectoral
plane through inframammary incisions. Aceording to the operative note, he inflated each
implant to 550 ccs. According to the OR Record, the entire procedure took only 25 minutes

50. According to an office note dated May 22, 2009, Ms. Katz returned to Lorcn Z.

Clayman’s office for suture removal with complaints that her left implant was making a “weird

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noise,” and that she experienced “damage from lifting [her] 18 ruth son.” No physical
examination is documented, nor is there any documentation as to Loren Z. Clayrnan’s
assessment of her complaints or any recommendations for them. ln the patient follow up log, it
is merely reported that she was “doing great."

51. On September 24, 2009, Ms. Katz returned to Loren Z. Clayman with complaints
of pain in her left breast. Once again, Loren Z. Clayrnan failed to document a physical
examination, his findings (it` any) from a physical examination, his diagnosis, or any discussion
of Ms. Katz’s clinical options The patient follow up log states that she was seen with a
“deflating left implant.” There is also a surgical estimate prepared on that date for “Left
deflation,” “.Bilateral Replaeernent,” and “Larger” for no cost because “Co. will pay.” There was
no explanation documented as to why bilateral replacement was necessary, as opposed to simply
the left implant.

52. Ms. Katz presented for a second breast surgery at Loren Z. Clayman’s office on
October 26, 2009. Acco.rding to the surgical intake purportedly completed by Ms. Katz, her left
breast was “paint`ul after augmentation,” and she needed “[r}eplaceme_nt" due to “[l]eaki.ng.” At
the time of this surgery, Ms. Katz reported that her bra size was 36 D. ln the operative note of
October 26, 2009, Loren Z. Clayman documented the removal and replacement of the left
implant only. Specifically, he wrote that upon making an incision at the lef`t breast, the implant
was i`ound to “have a partial deflation.” He then removed the implant and replaced it with an
Allergan Natrelle Ster 68 High Profile 465 cc saline implant, which he filled with 550 ccs of
saline. Aceording to the OR Record, the left implant had a leak at the valve. 'Ihe surgery took
20 minutes A preoperative photograph taken at Loren Z. Clayman’s office on October 26, 2009

demonstrates that she did not have a left implant deilatio.n.

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53. On or about October 26, 2009, Loren Z. Clayman made a warranty claim to
Allergan for the left implant, although the warranty paperwork is not included in his records for
Ms. Katz. Upon receiving the lett implant, Allergan’s personnel documented in a Laboratory
Anaiysi's report that white particles were'observed on the inner and outer surfaces of the implant,
and brown particles were observed in the till c_hannel; after the particles were removed, valve
functioning was normal Nevertheless, on December 7, 2009, Allergan paid Loren Z. Clayrnan
$1,200.00 for the surgery, and sent him at least one new implant.

54. On November 2, 2009, Ms. Katz remitted to Loren Z. Clayman’s office for suture
removal At that time, she reported a size difference between her two breasts, as well as “slight
pain around nipple” on the left side. Loren Z. Clayrnan’s ofiice note fails to document a physical
examination, his diagnosis of her complaints, or any clinical recommendations relating to her
complaints

55. On Dccember 14, 2009, Ms. Katz returned to Loren Z. Clayman’s office with
complaints that the left implant was “still larger than [her] right implant.” Again, there is no
documentation of a physical examination or of a discussion of her clinical options '.I`he follow
up logs states that Ms. Katz “desire[d] increase of right.” A surgical estimate prepared on
December 14, 2009 recites a right “increase” at no charge

56. Ms. Katz retumed for a third breast surgery on .Fcb.ruary 17, 2010. According to a
surgical intake that she completed, her “right implant was much smaller” than the recently
replaced left implant. She also had occasional pain in her left breast, and she was concerned
about the appearance of her scars. l-Iowever, a form purportedly signed by Ms. Katz states that
her bra size was 36 D on the right, and 36 C on the left, which would be contrary to the intake

form. According to the operative report of Pebruary ]7, 20].0, upon making an incision at the

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inframammary fold of the right breast, he found the implant had a “partiai deflation” and was
removed. He replaced the implant with an Allergan Natrelle Style 68 High Profile 465 cc saline
implant, which he filled with 700 ccs of saline. ln the OR Record, he gives as the reason for the
deflation “Tissue in valve.” Also according to the OR Record, the entire surgery took only 20
minutes A preoperative photograph taken at Loren Z. Clayrnan’s office on February 17, 2010
demonstrates that Ms. Katz did not have a right implant detlation.

57. Once again Loren Z. Clayman made a warranty claim to AIlergan, although the
warranty paperwork was not included in Ms. Katz’s records Af`ter receiving the returned
implant, Allergan’s personnel recorded in the Laborarory Analysis report that there were white
particles “on the inner surface of the implant,” and brown particles “in the fill channcl.” Once
the particles were removed, “valve functioning was then satisfactory.” Nevertheless, on Ap.ril
22, 2010, Allergan paid Loren Z. C|ayman $1,200.00 and provided him with a new right implant.

58. Presently, Ms. Katz’s implants are too large, causing daily pain, tenderness, and
the “side pockets” seem to be ripping. When she lies on her back, her implants “slide into her
arm pits.” The tops ot` her breasts are very tender to the touch or when she lies on her stomach
As such, she needs reconstructive breast surgery.

COUNT l - CLAYMAN DEFENDANTS’ MEDICA.L NEGLIGENCE

59. Ms. Katz re-alleges and incorporates by reference paragraphs l through 58.

60. At all times material, Loren Z. Clayman owed Ms. Katz a duty to exercise that
level of care, skil|, and treatment which, in light of all relevant surrounding circumstances was

recognized as acceptable and appropriate by reasonably careii.\l physicians caring for a patient

such as Ms. Katz.

 

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61. On or between April 9, 2009, and March 1, 2010, Loren Z. Clayman and/or
Clayman PA fell below the accepted and/or applicable standard ot` care in the treatment of Ms.
Katz in one or more of the following ways:

(a). By failing to properly document her medical care, treatment and surgeries

T,he quality of the clinic and operative records are, at best, poor and completely

inadequate throughout Ms. Katz’s care. None of the consultations or follow-up care

contains any direct documentation by Lore.n Z. Cl.ayman of their encounters

Specifically, no record of discussion with her and counseling with regard to her

complaints Also, no detailed description of her current complaints, her desired goal,

family history of breast cancer, and no detailed past medical history, past surgical history,
or medications were documented At a minimum, documentation should reflect the
patient’s subjective concerns, a review of pertinent medical history, physical assessments
including direct measurements, and a synopsis of findings leading to the surgical
recommendation T.he office notes do not contain detailed physical exams, detailed
assessments/plans, or detailed documentation ot` the informed consent process Lack of
appropriate documentation of follow-up visits is also a serious concern No physician
assessments or specific plans of care are documented

(b). By failing to have a documented discussion about her options regarding
breast implants ln the records of Loren Z. Clayman, no discussion of implant size is
documented Patients should have the opportunity to try different size implants for
dimensional planning and have a documented discussion regarding incision placement,
tissue plane (pre/subpectoral), implant type, and implant size. fn Ms. Katz’s rccords,

there are only discussions of implant type.

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(e). By failing to properly document with photographs his medical care,
treatment, and surgeries. The photographic documentation in Ms. Katz’s medical records
is also inadequate At the very minimum, lateral and oblique views should be obtained
Standardization of photo background and lighting is also important and considered
standard of care as it allows not only a means of timber objective assessment of the
problem, but also a means of comparison over time. The few photos in the records are
poorly reproduced “Polaroids” that only show a frontal view from diEerent depths and
perspectives

(d). Failing to assess Ms. Katz’s needs based upon her specilic, personal
anatomy and medical conditions at the times she presented, as opposed to taking a “one-
size-tits-all” approach to her clinical planning The.re is no discussion at her initial
preoperative visit that Ms. Katz had bending across the lower pole of both breasts, or that
she presented with a "double bubble" deformity preoperatively. This should have at least
been an initial “red flag” to Loren Z. Claytnan as to the relatively weak status of the
existing infra~marnmary fold structure The infra-m.ammary fold is a natural and
physiologic boundary of the inferior breast, and its integrity is important in maintaining
implant position on the chest wall. A weakened infra~mammaiy fold will result in
inferior displacement Ms. Katz's complaints of continued asymmetry are in large part
due to an inferior right breast implant malposition relative to the left breast and its
resultant lack of upper pull milness on the right side. Signiticantly, the failure to
appropriate manage this problem caused the progressive lengthening of the nipple and
infra-mammary fold distance as is documented in the chronological progression of

preoperative photographs Position of the nipple on the breast mound is also noteworthy

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as, especially the right breast nippie, from the second through fourth surgeries the nipples
maintain high positions on the breast mound

(e). By instructing Ms. Katz to document complaints or conclusions that were
incorrect Loren Z. Clayrnan has said the following, “We were instructed to put in our
notes that the implants may be leaking as the reason for the surgery." Whether the
implants are leaking or not, it is never appropriate, and should be considered fraudulent,
if patients are instructed to document anything specific in the medical record With regard
to these entries, it is apparent that instructing patients such as Ms. Katz to enter that as
part of their subjective complaints would give Loren Z. Clayman and/or his
representatives credibility to request compensation from the implant manufacturer not
only for the operation itself but for compensation in additional implants despite having
normal laboratory findings of the implants.

(i). By failing to engage in appropriate preoperative assessments counseling
and planning with the patient, which was then exacerbated by poor execution of
surgeries Ms. Katz‘s complaints and persistent deformities were set in motion
iatrogenically by poor preoperative counseling and assessment, as well as poor intra»
operative execution of a surgical plan from the time of the first surgery and thereafter.
As the progression of preoperative photographs demonstrates, there is no interval
improvement in the malposition of the implants; in particular, the right breast implant
remained inferiorly malpositioned throughout her course of care and treatment lt was her
right breast that was her primary complaint throughout her care, and this was reported by
Ms. Katz on every preoperative questionnaire Indeed, she continued to be asymmetric

despite further operative interventions This was due to Loren Z. Clayrnan's inadequate

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initial assessment of the quality of the infra-mammary folds and her ability to support a
iarger, overtilled saline implant.

(g). Failing to counsel Ms. Katz as to realistic and safe goals for her surgeries.
As reflected in the progressive inferior malposition settling or “bottoming out”
demonstrated in the preoperative photographs, Ms. Katz required a procedure to
strengthen the kinii‘amammary folds. '.l`his could have been accomplished by direct
incisional approaches along the length of the folds, followed by securing the folds to the
lower chest wall or upper abdominal skin against the chest wall to provide strengthened
folds and adequate implant position on the chest wall. With a fold repositioning and
strengthening, the implant pocket should have been dissented further to accommodate the
more cephalad, position of the breast implant upon the chest wall. Loren Z. Cl.ayrnan
failed to provide or even offer such a procedure to Ms. Katz, with the result being her
progressive “bottoming out.” Funhenuore, prolonged malposition of the lower poles
location and worsening ost. Katz’s ptosis or pseudo-ptosis resulted in significant lower
pole expansion (sagging), which was manifested by the increased nipple fold length seen
progressively in the preoperative photographs At this time, the lower pole expansion
and increased nipple fold length can be corrected only through extensive implant capsule
work and another direct incisional approach at the lower pole to reduce the vertical
height

(h). By repeatedly operating on Ms. Katz and claiming that her implants had
deflated, Loren Z. Clayrnan, M.D. placed her at increased risk for surgical and anesthetic
complications 'Ihese revision surgeries could have been avoided if, during the fast

surgery, Loren Z. Clayman, M.D. had used appropriately sized implants after adequate

 

 

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pre-surgical dimensional planning and use of sizing implants Additionally, silicone gel
implants should have been offered or at least considered after the first and subsequent
revision surgeries. 'l`he benefits of switching to the silicone implants include a negligible
risk of implant rupture and deflation, as well as a sofler, less paintill, and more natural
feel without rippling compared to overtilled saline implants.

(i). Failing to treat Ms. .Katz in a professional manner. Ms. Katz has indicated
that Loren Z. Clayman examined her in a very unprofessional manner, standing behind
the patient and touching her breasts as they looked in a mirror, with his body touching
hers, with no female nurse presentd

(j). Failing to be candid with Ms. Katz. Withi.n a reasonable degree of
medical probability, Ms. Katz did not experience successive spontaneous detlations of
her saline filled implants as described by Loren Z. Clayrnan, M.D. ln its follow-up
studies, Allergen reported spontaneous saline filled implant detlation rates of 2.7-6. 8% at
five years, and 10 to 13.8% at 10 years, averaging roughly a risk-of 1.2% per year. Based
on this i,nforrnation, the odds against Ms. Katz experiencing this number of spontaneous
deflations are astronornicai. Upon review of Alle.rgan, lnc.’s Laboratory Analysis reports,
there were no defects found in the valves or implant shells that would support the
diagnoses of spontaneous deilation. Furthennore, apparently only one of the implants
claimed to have been malfunctioning in the April 19, 2010 operative report was
submitted for review to Allergan. lf these were in fact actual instances of deflation that
required re-operation (which they were not), the implant used in the revision surgery
should not have been the same or equal volume as the prior surgery (as it was between

the last two surgeries).

 

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(k). Performing hasty in-office augmentations under IV sedation with '
overfilled saline implants in a “one-size-fits-all” approach to patient care. While the
implants fill out the breast skin envelope, the results are unnatural and asymrnetric with
unreasonable stretching of the skin and ptosis. 'I`ypically, Loren Z. Clayman then treats
the consequences of his “one-size-fits-all” approach to breast surgery with further saline
_implant breast augmentation, only accentuating underlying asymmetries and making the
problem worse.

(m). Failing to use appropriate anesthesia under the circumstances for the initial
purported subpectoral breast augmentation and subsequent revisions Loren Z. Ciayman,
M.D. used the sedation protocol of ketamine and versed, which was administered by a
registered nurse and not a certified registered nurse anesthetist (CRNA). 'I`.his is
significant as the difference between a certified registered nurse anesthetist and a
registered nurse is the ability to manage an airway during the procedure The lack of
presence of someone who is trained to manage an airway under scdation leads to
significant under-sedation, which was evident in this case. lntravenous sedatio.n should
be deep enough to_ adequately perform the procedure without the patient recalling the
procedure or experiencing intraoperative pain. Ms. Katz experienced recollections of the
surgeries, as well as significant discomfort and anxiety during the
procedures Subpectoralbreast augmentation should be performed under a general
anesthetic, and, preferably, with the use of muscle paralytics. The inadequate intravenous
sedation dun'ng Ms. Katz’s procedures more likely than not lead to an inadequate
subpectoral plane and pocket development, and likely caused or contributed to the

implants being inferiorly malpositioned. Additionaily, given Ms. Katz's initial

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experience with under-sedation, she should have been offered general anesthesia because
her revision surgeries were significantly more involved than her initial breast
augmentation procedure More likely than not, Loren Z. Clayman, M.D. took into
account the limitations of intravenous sedation when he performed the revision surgeries
'l.`here was no legitimate medical justification for choosing intravenous sedation
administered by a registered nurse for these procedures lt appears that Loren Z.
Clayman, M.D. chose this approach merely to control costs

(o). Excessively overfilling her breast implants

(p). Failing to take measures to prevent infectious agents or materials from
getting into the breast implants

(q). Failing to appropriately evaluate or assess her post-surgical complications
or complaints

(r). Failing to appropriately treat her post-surgical complications or
complaints

(s). By concealing or intentionally misrepresenting the cause of her post-
surgical complications or complaints 'l'his is likely because he has a system in place to
fund replacement implants and rc-operations through the manufacturer’s warranty,
without needing to provoke the patient by attempting to bill her for the re~operations.
62. As a direct and proximate result of above noted breach or breaches of the standard

of care by Loren Z. Clayrnan and/or Clayman PA, Ms. Katz suffered bodily injury and resulting
pain and suffering, mental anguish, disability, disfigurement, and loss of the capacity for the

enjoyment of life, has incurred and will incur in the future expense of hospitalization, medical

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and nursing care and treatment, and aggravation of a previously existing condition 'l`hese losses
are permanent or continuing in nature, and she will suffer them in the future.

63. Furthermore, on one or more occasions Loren Z. Clayman and/or Clayman PA
fraudulently concealed or intentionally misrepresented to Ms. Katz and/or others that a saline
implant that had been implanted in her body spontaneoust deilated or ruptured; such fraud,
eoncealment, or intentional misrepresentation caused Ms. Katz to conclude that the problems she
was having with her breasts were the result of product defects rather than the result ot` breaches
of the applicable standard of care by Loren Z. Clayman and/or Clayman PA.

WHEREFORE, the Plaintit`f, ELIZA.BETH E. KATZ, demands judgment for damages
against tile Defendants, LOREN Z. CLAYMAN, M.D. and LOREN Z. CLAYMAN, M.D.,
P.A. together with the costs of this action, and the ,Plaintit`f respectfully demands a trial by jury
on all issues so triable

COUNT II - CLAYMAN 'DEFENDANTS’ B.REACH OF F[DUCIARY DUTY

64. Ms. Katz re-alleges and incorporates by reference paragraphs l through 58.

65. On or between April 9, 2009, and .March l, 2010, Ms. Katz was a patient of Loren
Z. Clayman. By virtue of the physician-patient relationship, Loren Z. Clayman had a fiduciary
duty to Ms. Katz to not perform acts for his/their own pecuniary gain that were contrary to her
welfare

66. Loren Z. C|ayman and/or Clayman .PA violated this fiduciary duty to Ms. Katz in
one or more of the following ways:

(a). By claiming that her breast implants had deflated when in fact they had

not.

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(b). By successively operating on Ms. Katz without addressing her actual
problems, which placed her at an increased risk for surgical and anesthetic complications

(c). By repeatedly not performing the surgery that her physical condition
actually required (i.e. a mastopexy) in favor ot` surgery that took less time and skill, to
save Loren Z. Clayman and/or Clayman PA time and money

(d). By repeatedly operating on her when he knew or should have known that
he did not have the skill or competency to perform the surgeries within the standard of
care.

(e). By repeatedly operating on her so that Loren Z. Clayman and/or Clayman
PA could recover a surgical fee from Allergan each time,

(f). By performing surgery with inadequate anesthesia because it was cheaper,
which in tum led to improper implant placement as well as increased pain, discomfort,
and anxiety.

67. Furthermore, on one or more occasions Loren Z. Clayman fraudulently concealed
or intentionally misrepresented to Ms. Katz and/or others that a saline implant that had been
implanted in her body had spontaneously deilated; such fraud, concealment or intentional
misrepresentation caused Ms. Katz to conclude that the problems she was having with her
breasts were the result of product defects rather than the result of breaches of Loren Z.
Clayman’s fiduciary duties to her4

68. As a direct and proximate result of Loren Z. Clayman breaches of his fiduciary

duties to Ms. Katz, she suffered bodily injury and resulting pain and suffering, mental anguish,
disability, disfigurement and loss of the capacity for the enjoyment of life, has incurred and will

incur in the future expense of hospitalization, medical and nursing care and treatment, and

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aggravation of a previously existing condition These losses are permanent or continuing in
nature, and she will suffer them in the future.

WHEREFORE, the Plaintiff, ELIZABETH E. KATZ, demands judgment for damages
against the Defendants, LOREN Z. CLAYM`AN, M.D., and LOREN Z. CLAYMAN, M.D.,
P.A., together with the costs of this action, and the Plaintiff~ respectfully demands a trial by jury
on all issues so triable

COUNT IH - CLAYMAN DEFENDAN'I`S’ VIOLATIONS OF FLORIDA DECEPTIVE
AND UNFAIR TRADE PRACTICES ACT
69. Ms. Katz re-alleges and incorporates by reference paragraphs l through 58.
?0. On one or more occasions between April 9, 2009, and March 1, 2010, Loren Z.

Clayrnan and/or Clayman PA, engaged in one or more of the following acts:

(a). Caused or allowed to be printed, published, or otherwise disseminated to
the general public advertisements soliciting patients for “Loren Z. Clayman’s Plastic
Surgery Center & Miracle Spa” when there is no organized entity or even a registered

fictitious name for such an entity or organization

(b). Caused or allowed to be printed, published, or otherwise disseminated to
the general public advertisements that represented that Loren Z. Clayman had the
experience, competence and iincsse to produce extraordinary surgical results, when in

fact such representations were false.

(c). Represented to Ms. Katz and/or others that a saline implant that had been
implanted in her had spontaneously ruptured or deilated, when in fact it had not.
71. The aforementioned acts of Loren Z. Clayrnan and/or Clayman PA were “[u]nfair

methods of competition, unconscionable acts or p.ractices, or unfair or deceptive practices” as

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contemplated by Seetion 501.204, F!orr'da Statutes.

72. Ms. Katz is a “consumer" and Loren Z. Clayman and/or Clayman PA were and
are engaged in “trade or commerce,” as both terms are defined in Section 501.203 (7) and (8),
Florida Statutes.

73. As a direct and proximate result of the aforesaid acts of Loren Z. Clayrnan and/or
Ciayman PA, Ms. Katz suffered bodily injury and resulting pain and suffering, mental anguish,
disability, disiigureme.nt, and loss of the capacity for the enjoyment of life, has incurred and will
incur in the future expense of hospitalization, medical and nursing care and treatment, and
aggravation of a previously existing condition. 'I'hese losses are permanent or continuing in
nature, and she will suffer them in the future

74. Furthermore, as a direct and proximate result of the aforesaid acts of Loren Z.
Clayman and/or Clayman PA, Ms. Katz spent monies in the amount of $3,750 or more, for
medical and/or surgical care by Loren Z. Clayman and/or Clayman PA that was of no value, and
which caused her to need future medical care and incur related expenses to correct the damages
done by said past medical and/or surgical care of Loren Z. Clayman and/or Clayrnan ,PA.

75. As a result of the aforesaid acts of Loren Z. Ciayman and/or Clayman PA, Ms.
Katz has retained or employed the undersigned law firm, and she has agreed to pay the firm a
reasonable fee for its services in that regard.

WHBREFORE, the Plai.ntiff, ELIZABETH. E. KATZ, seeks the following relief:

(a). Judgment for damages against the Defendants, LOREN Z. CLAYMAN, M.D.,
and/or LdREN Z. CLAYMAN, M.D., P.A.

(b). The court costs of this action, and attomey’s fees pursuant to Sections 501.2105

and 501.21 1(2), Florida Statute.s.

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(c). A declaratory judgment that one or more acts or practices of one or more of the
Defendants violated the Fiorr`da Deceptr`ve and 'Unfar`r D'ade Practr'ces Act.

(d). An order enjoining one or more of the Defendants hom engaging in the above
noted acts or practices

(e). The Plaintift` further demands a trial by jury on all issues so triable.

COUNT IV - CLAYMAN DEFENDANTS’ FRAUD

76. Ms. _Katz re-alleges and incorporates by reference paragraphs l through 58.

77. On one or more of the below occasions, Loren Z. Clayman and/or Clayruan PA
made the following false statements or representations, which were intended to conceal his
inability to perform the breast augmentation procedures competently and within the standard of
care, and which i.n fact misled Ms. Katz and/or caused her to respond in the following ways to
her detriment:

(a). On April 9, 2009, Loren Z. Clayrnan represented to Ms. Katz that he was a
competent plastic surgeon who could perform breast augmentation and related procedures
in a reasonably competent manner that was within the standard of care. ‘l.`his
representation was false because he was not in fact reasonably competent to perform the
requested procedures within the standard of care. 'l`his representation caused Ms. Katz to
choose Loren Z. Clayman for breast surgery as opposed to other plastic surgeons.

(b). O_n April 9, 2009, Loren Z. Clayman represented to Ms. Katz that he knew
_the appearance that she wanted for her breasts, and that he could achieve that appearance
through the planned surgery. ln fact, whether Loren Z. Clayman knew what appearance
she desired or not, he did not have the ability or intention to perform the procedures

necessary to provide her with the desired appearance This representation caused Ms.

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Katz to choose Loren Z. Clayman for breast surgery as opposed to other plastic surgeons
who would have been able to provide her with the desired appearance

(c). On September 24, 2009, Loren Z. Clayman told Ms. Katz that her left
breast implant had a rupture, leak, or dellation, and he further told her that she needed to
undergo surgery to remove-and replace it (he repeated these representations in the
operative report dated October 26, 2009). In fact, she did not have a rupture, leak, or
defiatiorr at her left breast implant, and Loren Z. Clayrnan did not have the intention or
ability to correct the problems with her breasts. These representations caused Ms. Katz to
conclude that the problems she was experiencing with her breasts were not the result of
Loren Z. Clayman’s breach of the standard of care in his previous surgeries, but that she
had a defective breast implant,' these representations also caused her to agree to have
another surgery by Loren Z. Clayrnan instead of a different plastic surgeon As a result,
Ms. Katz did not seek a second opinion from another plastic surgeon, nor did she seek
legal counsel for a potential medical negligence claim.

(d). On September 24, 2009, Loren Z. Clayman provided Ms. .Katz with a
written surgical estimate that stated that she needed surgery for a “Left deflation,” that
she needed to have a “Bilateral Replacement,” that she had stated that she wanted both of
her breasts to be “Largc.r,” all for which the “Co. will pay.” .ln fact, she did not have a
rupture, leak, or deflation at her left breast implant, Loren Z. Clayman did not have the
intention or ability to correct the problems with her breasts, Loren Z. Clayman intended
to only remove one of her breast implants, and she did not request to have bath of her
breasts made largcr. These representations caused Ms. Katz to conclude that the

problems she was experiencing with her breasts were not the result of Loren Z.

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Clayman‘s breach of the standard of care in his previous surgery, but that she had a
defective breast implant,' these representations also caused her to agree to have another
surgery by Loren Z. CIayman instead of a different plastic surgeon As a result, Ms. Katz
did not seek a second opinion from another plastic surgeon, nor did she seek legal
counsel for a potential medical negligence claim

(e). l.n the process of having Ms. Katz sign the informed consent paperwork on
or about October 26, 2009, Loren Z. Clayman and/or a Clayrnan _PA employee told her
that she had a rupture, Ieak, or deflation at her left breast implant. ln fact, she did not
have a rupture, leak, or detlation at her left breast implant, and Loren Z. Clayrnan did not
have the intention or ability to correct the problems with her breasts. These
representations caused Ms. Katz to conclude that the problems she was experiencing with
her breasts were not the result of Loren Z. Clayman's breach of the standard of care in his
previous surgery, but that she had a defective breast implant; these representations also
caused her to agree to have another surgery by Loren Z. Clayman instead of a different
plastic surgeon As a result, Ms. Katz did not seek a second opinion from another plastic
surgeon, nor did she seek legal counsel for a potential medical negligence claim.

(f). On or about October 26, 2009, Loren Z. Clayman made a warranty claim
to Allergan in which he reported that Ms. Katz’ left breast implant had a rupture, leak, or
detlatio.n. in fact, she did not have a rupture, leak, or deflation at her left breast implant,
and Loren Z. Clayman did not have the intention or ability to correct the problems with
her breasts These representations caused Ms. Katz to conclude that the problems she
was experiencing with her breasts were not the result of Loren Z. Clayman’s breach of

the standard of care in his previous surgery, but that she had a defective breast implant;

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these representations also caused her to agree to have another surgery by Loren Z..
CIayman instead of a different plastic surgeon. As a result, Ms. Katz did not seek a
second opinion from another plastic surgeon, nor did she seek legal counsel for a
potential medical negligence clairn.

(g). In the process cf having Ms. Katz sign the informed consent paperwork on
cr about February l7, 2010, Loren Z. Clayman and/or a Clayrnan .PA employee told her
that she had a rupture, leak, or deilation at her right breast implant. l`n fact, she did not
have a rupture, leak, or deflaticn at her right breast implant, and Loren Z. Clayrnan did
not have the intention or ability to correct the problems with her breasts. These
representations caused Ms. .Katz to conclude that the problems she was experiencing with
her breasts were not the result ofLoren Z. Clayman’s breach of the standard of care in his
previous surgery, but that she had a defective breast implant; these representations also
caused her to agree to have another surgery by Loren Z. Clayrnan instead of a different
plastic surgeon As a result, Ms. Katz did not seek a second opinion from another plastic
surgeon, nor did she seek legal counsel for a potential medical negligence clairn.

(h). On or about February 17, 2010, Loren Z. Clayrnan made a warranty claim
to Allergan in which he reported that Ms. Katz’ right breast implant had a rupture, leak,
or deflation. In fact, she did not have a rupture, leak, or deilation at her right breast
implant, and Loren Z. Clayman did not have the intention or ability to correct the
problems with her breasts. These representations caused Ms. Katz to conclude that the
problems she was experiencing with her breasts were not the result of Loren Z.
Clayman’s breach of the standard of care in his previous surgery, but that she had a

defective breast implant; these representations also caused her to agree to have another

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surgery by Loren Z. Clayman instead of a different plastic surgeon As a result, Ms. Katz

did not seek a second opinion from another plastic surgeon, nor did she seek legal

counsel for a potential medical negligence clairn.

78. As a result of the above false statements or representations, Loren Z. Clayman,
and/or Clayman .PA were able to continue collecting money in relation to the medical and
surgical care of Ms. Katz, Ms. Katz delayed seeking a second opinion from another plastic
surgeon, and/or.Ms. Katz delayed seeking legal counsel for potential medical negligence

79. As a direct and proximate result of the above noted false statements or
representations of Loren Z. Clayman and/or employees or agents of Ciayman PA, Ms. Katz
suffered bodily injury and resulting pain and suffering mental anguish, disability, disiigurement,
and loss of the capacity for the enjoyment of life, has incurred and will incur in the future
expense of hospitalization, medical and nursing care and treatment, and aggravation of a
previously existing condition These losses are permanent or continuing in nature, and she will
suffer them in the future 1

80. .Furthermore, as a direct and proximate result of the above noted false statements
or representations by Loren Z. Clayrnan andfo.r employees or agents of Clayman PA, Ms. Katz
spent monies in the amount of $3,750 or more for breast augmentation surgery and related
medical care by Loren Z. Clayman and/or Clayrnan PA that was of no value, and which has
caused her to have to incur future medical expenses for medical and surgical care to correct the
damage done by Loren Z. Clayrnan and/or Clayman PA.

WHEREFORE, the Plaintiff, ELIZABETH E. KATZ, demands judgment for damages
against the Defendants, LOREN Z. CLAYMAN, M.D. and LOREN Z. CLAYMAN, M.D.,

P.A. together with the costs of this action, and the Plaintiff respectfully demands a trial by jury

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on all issues so triable
COUNT V - CLAYMAN DEFENDANTS AND ALLERGAN’S CONSPIRACY TO
COMM].T FRAUD AND/OR BREACH OF FIDUCIARY DUTY

81. Ms. Katz re-alleges and incorporates by reference paragraphs l through 58.

82. On or before Apri19_, 2009, Loren Z. Clayman and/or Clayman FA entered into an
agreement with Allergan to commit fraud and/or breach of fiduciary duty.

83. Ms. Katz re~alleges and incorporates by reference paragraphs 65 through 67 as the
allegations of conduct by Loren Z. Clayman and/or Clayman PA in timberance of the breach of
the fiduciary duty owed by Loren Z. Clayrnan andfor Clayrnan PA to Ms. Katz.

84. Ms. Katz re~alleges and incorporates by reference paragraphs 77 and 78 as the
allegations of fraud upon Ms. Katz committed by Loren Z. Clayman and/or Clayrnan PA,

85. Allergan committed one or more of the following overt acts in furtherance of the
conspiracy to commit fraud and/or breach of fiduciary duty:

(a). Continuing to sell Loren Z. Clayman and/or Clayman PA saline filled
breast implants until April 9, 2009, despite the following:
(l). Loren Z. Clayrnan and/or Clayman PA_ had previously made
hundreds of warranty claims to Allergan for saline filled breast implants for which
Allergan‘s Laboratory Ana[ysis reports did not support claims of “Ioss of shell
integrity, resulting in implant rupture or deflation that required surgical

intervention,” and, thus, the explant surgeries were not necessary as result of
failed breast implants; and

(2). The rate of rupture/deflations of Natrelle saline filled implants
claimed by Loren Z. Clayman and/or Clayman PA was markedly higher than the
rate shown by Allergan’s own follow up studies for Natrelle saline filled implants.
(b). Failing to report Loren Z. Clayrnan and/or Clayman PA to the appropriate

authorities before April 9, 2009, despite the following:

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(l). Loren Z. Clayman and/or Claynian PA had previously made
hundreds of warranty claims to Allergan for saline filled breast implants for which
Allergan’s Labararary Analysi's reports did not support claims of “loss of shell
integrity, resulting in implant rupture or dcflation that required surgical
intervention,” and, thus, the explant surgeries were not necessary as result of
failed breast implants; and

(2). The rate of mpture/deflations of Natrelle saline filled implants
claimed by Loren Z. C|ayrnan and/or Clayman PA was markedly higher than the
rate shown by Allergan’s own follow up studies for Natrelle saline filled implants.

(c). Payirig the warranty claim of Loren Z. Clayman and/or Clayn:ian PA,
without requesting further corroboration, in relation to the left saline filled breast implant
that Loren Z. Clayman placed into Ms. Katz on May 15, 2009, and which Loren Z.
Clayman surgically removed on October 26, 2009, despite the following:

(l). Allergan’s Laboratory Analysi`s report for the left saline filled
breast implant that was implanted by Loren Z. Clayman into Ms. Katz on May 15,
2009, and explanted from Ms. Katz by Loren Z. Clayman on October 26, 2009,
did not support a claim of “loss of shell integrity, resulting in implant rupture or
deflation that requires surgical intervention,” and, thus, that the October 26, 2009
surgery was not necessary as a result of a failed breast implant;

(2). Loren Z. Clayman and/or Clayrnan PA had previously made
hundreds of warranty claims to Allergan for saline filled breast implants for which
Allergan’s Laboratory Analysi`s reports did not support claims of “Ioss of shell
integrity, resulting in implant rupture or deflation that required surgical
intervention,” and, thus, the explant surgeries were not necessary as result of
failed breast implants; and '

(3). The rate of rupture/deflations of Natrelle saline filled implants
claimed by Loren Z. C|ayrnan and/or Clayman PA was markedly higher than the
rate shown by Allergan’s Own follow up studies for Natrclle saline filled implants.
(d). Paying the warranty claim of Loren Z. Claymari and/or Clayman PA,

without requesting further corroboration, in relation to the right saline filled breast

implant that Loren Z. Clayman placed into Ms. Katz on May 15, 2009, and which Loren

Z. Clayman surgically removed on February 17, 2010, despite the following:

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(l). Allergan’s Laboratory Analysi`s report for the right saline filled
breast implant that was implanted by Loren Z, Clayman into Ms. Katz on May 15,
2009, and explained from Ms. Katz by Loren Z. Clayman on February 17, 2010,
did not support a claim of` “loss of shell integrity, resulting in implant rupture or
deflation that requires surgical intervention,” and, thus, that the February 17, 2010
surgery was not necessary as a result of a failed breast implant;

(2). Allergan’s Loborotory Analysz‘s report for the left saline filled
breast implant that was implanted by Loren Z. Clayman into Ms. Katz on May 15,
2009, and explanted from Ms. Katz by Loren Z. Clayman ori October 26, 2009,
did not support a claim of “loss of` shell integrity, resulting iii implant rupture or
deflation that requires surgical intervention,” and, thus, that the October 26, 2009
surgery was not necessary as a result of a failed breast implant; `

(3), Loren Z. Clayman and/or Clayman PA had previously made
hundreds of warranty claims to Allergan for saline filled breast implants for which
Allergan’s laboratory Analysi's reports did not support claims of “loss of shell
integrity, resulting in implant rupture or deflatiori that required surgical
intervention,” and, thus, the explant surgeries were not necessary as result of
failed breast implants; and

(4). T he rate of` rupture/de.flations of Natrelle saline filled implants
claimed by Loren Z. Clayman and/or Clayman PA was markedly higher than the
rate shown by Allergan's own follow up studies for Natrelle saline filled implants.

(e), Continuing to sell saline filled breast implants to Loren Z. Clayman and/or
Clayman PA on or between April 9, 2009, and March 1, 2010, despite the following:

(l). Allergan’s Laboraroiy Analysi's report for the right saline filled
breast implant that was implanted by Loren Z. Clayrnan into Ms. Katz on May 15,
2009, and explanted from Ms. .Katz by Loren Z. Clayman on February l7, 2010,
did not support a claim of “loss of` shell integrity, resulting in implant rupture or
deflation that requires surgical intervention,” and, thus, that the .February l?, 2010
surgery was not necessary as a result of a failed breast implant;

(2). Allergan'S laboratory Analysi`s report for the left saline filled
breast implant that was implanted by Loren Z‘ Clayman into Ms. Katz on May 15,
2009, and explanted from Ms. Katz by Loren Z. Clayman on October 26, 2009,
did riot support a claim of “loss of shell integrity, resulting in implant rupture or
deilation that requires surgical intervention,” and, thus, that the October 26, 2009
surgery was not necessary as a result of a failed breast implant;

(3). Loren Z. Clayman and!or Clayman PA had previously made

hundreds of warranty claims to Allergan for saline filled breast implants for which
Allergan`s Laborato);v Analysis reports did not support claims of “loss of shell

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integn'ty, resulting in implant rupture or deflation that required surgical
intervention," and, thus, the explant surgeiies were not necessary as result of
failed breast implants; and

(4). The rate of rupture/deflations of Natrelle saline filled implants
claimed by Loren Z. Clayman and/or Clayrnan PA was markedly higher than the
rate shown by Allergan’s own follow up studies for N`atrelle saline filled implants.

(f). Failing to report Loren Z. Clayman and/or Clayman PA to the appropriate
authorities on or between April 9, 2009, and Marc.h I, 2010, despite the following:

(l). Allergan’s Laborotory Analysi's report for the right saline filled
breast implant that was implanted by Loren Z. Clayrnan into Ms. .Katz on May 15,
2009, and explained from Ms. Katz by Loren Z. Clayman on February l?, 2010,
did not support a claim of “loss of shell integrity, resulting in implant rupture or
deflatiori that requires surgical intervention,” and, thus, that the February 17, 2010
surgery was not necessary as a result of a failed breast implant;

(2), Allergan’s Laboratory Anolysi‘s report for the left saline filled
breast implant that was implanted by Loren Z. Clayman into Ms. Katz on May 15,
2009, and explanted from Ms. Katz by Loren Z. Clayman on October 26, 2009,
did not support a claim of “loss of shell integrity, resulting in implant rupture or
deflation that requires surgical intervention,” and, thus, that the October 26, 2009
surgery was not necessary as a result of a failed breast implant,'

(3). Loren Z. Clayman and/or Clayman PA had previously made
hundreds of warranty claims to Allergan for saline filled breast implants for which
Allergan’s Laboratory Anal'ysi's reports did not support claims of “loss of shell
integrity, resulting in implant rupture or deflation that required surgical
interventiori,” and, thus, the explant surgeries were not necessary as result of
failed breast implants; and

(4). The rate of rupture/deflations of Natrelle saline filled implants
claimed by Loren Z. Clayman and/or Clayman PA was markedly higher than the
rate shown by Allergan’s own follow up studies for Natrelle saline filled implants.

86. As a direct and proximate result of the above noted conspiracy to commit fraud
and/or breach of fiduciary duty by Loren Z. Clayrnan and!or Clayman PA, and also by Allei'gan,
Ms. Katz suffered bodily injury and resulting pain and suffeiing, mental anguish, disability,

distigurement, and loss of the capacity for the enjoyment of life, has incurred and will incur in

the future expense of hospitalization, medical and nursing care and treatment, and aggravation of

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a previously existing condition These losses are permanent or continuing in nature, and she will
suffer them in the future

87. Furthermore, as a direct and proximate result of the above noted conspiracy to
commit fraud and/or breach of fiduciary duty by Loren Z. Clayman andfor Clayrnan PA, and
also by Allergan, Ms. Katz has spent monies in the amount of $3,750 or more, for medical
and/or surgical care related to her breasts by Loren Z. Clayman and/or Clayman _PA that was of
no value, and which has caused her to have to incur future medical expenses in the future to
correct the damages done by said medical and/or surgical care.

WHEREFORE, the Plaintiii`, ELIZABETH E. KATZ, demands judgment for damages
against the Defendants, LOREN Z. CLAYMA.N, M.D., LOREN Z. CLAYMAN, M.D., P.A.,
A.LLERGAN, INC., ALLERGAN SAI..ES, LLC, and AL.LERGAN USA, INC., together with
the costs of this action, and the Plaintiff respectfully demands a trial by jury on all issues so
triable

COUNT VI - ALLERGAN AlD`ING AND ABETTING FRAUD
AND!OR BREACH OF FlDUCIARY DUTY

88. Ms. Katz re-alleges and incorporates by reference paragraphs l through 58.

89. Ms. Katz re-alleges and incorporates by reference paragraphs 65 through 67 as the
allegations of conduct by Loren Z. Clayman and/or Clayman PA in furtherance of the breach of
the fiduciary duty owed by Loren Z. Clayman and/or Clayman PA to Ms. Katz.

90. Ms. _Kat.z re_alleges and incorporates by reference paragraphs 77 and 78 as the
allegations of fraud upon Ms. Katz committed by Loren Z. Clayrnan and/or Clayman FA.

91. Allergan, through its employees or agents, knew that Loren Z. Clayman and/or

Clayman PA, was committing fraud upon Ms. .Katz, and/or breaching a fiduciary duty owed to

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Ms. Katz, due to the following:

(a). Allergan’s Labomtory Analysis report for the right saline filled breast
implant that was implanted by Loren Z. Clayman into Ms. Katz on May 15, 2009, and
explanted from Ms. Katz by Loren Z. Clayman on February l?, 2010, did not support a
claim of “loss of shell integrity, resulting in implant rupture or deflation that requires
surgical intervention,” and, thus, that the February 17, 2010 surgery was not necessary as
a result of a failed breast implant;

(b). Allergan’s Laborarory Anat'ysis report for the left saline filled breast
implant that was implanted by Loren Z. Clayman into Ms. Katz on May lS, 2009, and
explained from Ms. Katz by Loren Z. Clayman on October 26, 2009, did not support a
claim of “loss of shell integrity, resulting in implant rupture or deflatio.n that requires
surgical intervention," and, thus, that the October 26, 2009 surgery was not necessary as a
result of a failed breast implant;

(c). Loren Z. Clayman and/or C|ayman PA had previously made hundreds of
warranty claims to Allergan for saline filled breast implants for which Allergan’s
Laboratoiy Analysr's reports did not support claims of “loss of shell integrity, resulting in
implant rupture or deflation that required surgical intervention,” and, thus, the explant
surgeries were not necessary as result of failed breast implants; and

(d). The rate of rupture/deflations of Natrelle saline filled implants claimed by
Loren Z. Clayman and/or Clayman PA was markedly higher than the rate shown by

Allergan’s own follow up studies for Natrelle saline filled implants

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92. Despite the aforesaid knowledge of Allergan through its employees or agents,
Allergan provided substantial assistance to Loren Z. Clayman and/or Clayman PA in committing
fraud against Ms. Katz, and/or breaching a fiduciary duty owed to Ms. Katz, in one or more of

the following ways:

(a). Continuing to Sell Loren Z. Clayman and/or Clayman .PA saline filled
breast implants until April 9, 2009;

(b). Pailing to report Loren Z. Clayman and/or Clayman PA to the appropriate
authorities before April 9, 2009,'

(c). .Payi.ng the warranty claim of Loren Z. Clayman and/or Clay.man PA,
without requesting further co.rroboratio.n, in relation to the left saline filled breast implant
that Loren Z. Clayman placed into Ms. Katz on May 15, 2009, and which Loren Z.

Clayman surgically removed on October 26, 2009;

(d). Paying the warranty claim of Loren Z. Clayman and/or Clayman PA,
without requesting further corroboration, in relation to the right saline filled breast
implant that Loren Z. Clayman placed into Ms. Katz on May 15, 2009, and which Loren

Z. Clayman surgically removed on Februzuy 17, 2010;

(c). Continuing to sell saline filled breast implants to Loren Z. Clayman and/or
Clayman FA on or between April 9, 2009, and M.arch l, 20 l 0; and

(f). Failiiig to report Loren Z. Clayman and/or Clayman PA to the appropriate

authorities on or between April 9, 2009, and March 1, 2010.

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93. As a direct and proximate result of the substantial assistance provided by Allergan
to Loren Z. Clayman and/or Clayman PA, Ms. Katz suffered bodily injury and resulting pain and
suffering, mental anguish, disability, disfigurement, and loss of the capacity for the enjoyment of
life, has incurred and will incur in the future expense of hospitalization, medical and nursing care
and treatment, and aggravation of a previously existing condition. These losses are permanent or
continuing in nature, and she will suffer them in the future

94. .Furthermore, as a direct and proximate result of the above noted substantial
assistance provided by Allergan to Loren Z. Clayman and/or Clayman PA, Ms. Katz has spent
monies in the amount of $3,750 or more, for medical and/or surgical care related to her breasts
by Loren Z. Clayman and/or Clayman PA that was of no value, and which has caused her to
have to incur future medical expenses in the future to correct the damages done by said medical
and/or surgical care.

WHEREFORE, the Plaintif`f, ELIZABETH E. KATZ, demands judgment for damages
against the Defe.ndants, ALLERGAN, [NC., ALLERGAN SALES, LLC, and ALLERGAN
USA, INC., together with the costs of this action, and the Plainti.ii` respectfully demands a trial
by jury on all issues so triable

COUNT VH - A_LLERGAN’S STRICT LLAB[L]TY FOR D.EFECTIVE PRODUCTS

95. Ms. .Katz re-alleges and incorporates by reference paragraphs l through 58.

96. Allergan designed, researched, manufactured assembled, tested, packaged,
promoted, advertised, marketed, sold, distributed, or otherwise placed into the stream of
commerce, the following saline filled breast implants: left and right Natrelle Ster 68 High
Profile 465 saline breast implants with serial numbers 13689941 and 1413]044, respectively,

that were implanted into Ms. Katz on May 15, 2009, and expianted from Ms. Katz on October

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26, 2009, and .February 17, 2010, respectively; a left Natrelle Ster 68 High Protile 465cc saline
breast implants with serial number 14318593 that was implanted into Ms. Katz on October 26,
2009; and a right Natrelle Style 68 High Profile 465cc saline breast implants with serial number
14778432, that was implanted into Ms. Katz on February l?, 2010.

97. At all times material, Allergan expected the aforesaid saline filled breast implants
to reach, and one or more pairs did in fact reach, consumers in the State of Florida, including Ms.
Katz, without substantial changes in the condition in which they were sold or distributed

98. At all times material, the aforesaid saline filled breast implants were being used in
the manner intended, or based upon all of the circumstances, reasonably expected, by Allergan

99. At all times material, one or more of the aforesaid saline filled breast implants
was in fact defective and in an unreasonably dangerous condition at the time it was placed into
the stream of commerce, and when put to its reasonably anticipated use, in one or more of the
following ways:

a. Design

(l). One or more of saline filled breast implants was designed such that
the valve permitted liquids from inside a patient’s body cavity to travel
inside the implant shell and spread infectious agents; or

(2). One or more of the aforesaid saline filled breast implants was
designed such that the valve allowed saline fluid to escape from the
implant shell, causing the need for subsequent surgery to replace the
implant; and

(3). P.rior to May 15, 2009, a safer alternative design for the aforesaid

saline filled breast implants existed and was commercially feasible; and

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(4). The design of tlie aforesaid saline filled implants was unreasonably
dangerous when compared to the benedts they offered to patients who had
them.
b. Manufacture
One or more of the aforesaid saline filled breast implants was defectiver
manufactured such that
(l). the valve permitted liquids from inside a patient’s body cavity to
travel inside the implant shell and spread infectious agents; or
(2). the valve allowed saline fluid to escape from the implant shell
causing the need for subsequent surgerth replace the implant.
c. Warnin
(l). One or more of the aforesaid saline filled breast implants contained
an inadequate warning of the risks of its valve permitting liquids nom
inside a patient’s body cavity to travel inside the implant shell and spread
infectious agents; or
(2). One or more of the aforesaid saline filled breast implants contained
an inadequate waming of the risks of its valve allowing saline fluid to
escape from the implant shell, causing the need for a subsequent surgery
to replace the implant.
100. The defective condition of one or more of the aforesaid saline filled breast
implants subjected patients receiving the breast implants to infection or rupture/detlation, which

exceeded the benefits cf the products, and for which safer products were available. This

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defective condition made one or more of the aforesaid saline filled breast implants unreasonably
dangerous when put to use as intended or reasonany expected by Allergan.

lOl. The defective condition of one or more of the aforesaid saline filled breast
implants directly caused cr contributed to cause Ms. Katz to suffer bodily injury and resulting
pain and suffering, mental anguish, disability, disfigurement, and loss of the capacity for the
enjoyment of life, has incurred and will incur in the future expense of hospitalization, medical
and nursing care and treatment, and aggravation of a previously existing condition These losses
are permanent or continuing in nature, and she will suffer them in the future

WHEREFORE, the Plainti£f, ELIZABETH E. KA'I`Z, demands judgment for damages
against the De.t`endants, ALLERGAN, lNC., ALLERGAN SALES, LLC, and ALLERGAN
USA, lNC., together with the costs of this action, and the Plaintiff respecttirlly demands a trial
by jury on all issues so triable

COUNT VIII - ALLERGAN’S PRO.DUCT NEGLIGENCE

102. Ms. Katz re-alleges and incorporates by reference paragraphs l through 58.

103. Allergan was and is the entity that designed, researched, manufactured
assembled, tested, packaged, promoted, advertised marketed, sold, distiibuted, or otherwise
placed into the stream of commerce, the following saline filled breast implants: left and right
`Natrelle Ster 68 High Profile 465 saline breast implants with serial numbers 1368994] and
14131044, respectively, that were implanted into Ms. Katz on May 15, 2009, and explanted from
Ms. Katz on October 26, 2009, and February l7, 2010, respectively; a led Natrelle Ster 68 High
Profile 465cc saline breast implants with serial number 14318593 that was implanted into Ms.
Katz on October 26, 2009; and a right Natrelle Style 68 High Profile 4650¢: saline breast implants

with serial number l4778432, that was implanted into Ms. Katz on February 17, 201.0;

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accordingly, at all times material Allergan owed one of more of the following duties to the
patients who received the implants in surgeries:

(a). to properly design, assemble, and manufacture the aforesaid Natrelle
saline filled breast implants so that none of them created an unreasonable risk of harm,
bodily injury, or death to their users or consumers;

(b). to provide labels and packaging materials that adequately warned
implanting surgeons and the using public of the risks and dangers associated with the
aforesaid Allergan Natrelle saline filled breast implants, including but not limited to the
risk of their valves permitted liquids from inside a patient’s body cavity to travel inside
the implant shells and spread infectious agents, as well as the risk of the valves allowing
saline fluid to escape from the implant shells, causing the need for subsequent surgeries
to replace the implants; and/or

(c). to conduct adequate testing on the aforesaid Natrelle saline filled implants
before releasing them into the Stream of commerce to ensure that they were reasonably
safe for their intended use.

104. O_n or before May 15, 2009, Allergan knew or should have known that the
aforesaid Natrelle saline filled breast implants posed an unreasonable risk of harrn, bodily injury,
or death to its users, the patients who had them implanted into them.

105. Allergan breached the duties it owed to its users, the patients who had Natreile

saline filled breast implants implanted into them, in one or more of the following ways:

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a. Design

(l). One or more of the aforesaid saline filled breast implants was
designed such that the valve permitted liquids from inside a patient’s body cavity
to travel inside the implant shell and spread infectious agents; or

(2). One or more of the aforesaid saline filled breast implants was
designed such that the valve allowed saline fluid to escape from the implant shell,
causing the need for subsequent surgeries to replace the implant; and

(3). Prior to January 30, 2009, a safer alternative design for the
aforesaid saline filled breast implants existed and was commercially feasible; and

(4). The design of the aforesaid saline filled implants was unreasonably
dangerous when compared to the benefits they offered to patients who had them.
b. Manufacture

One or more of the aforesaid saline filled breast implants was defectiver
manufactured such that

(l). T.he valve permitted liquids from inside a patient’s body cavity to
travel inside the implant shell and spread infectious agents; or

(2). The valve allowed saline fluid to escape from the implant shell
causing the need for subsequent surgery to replace the implant.

C- W.amius

(l). One or more of the aforesaid saline filled breast implants contained

an inadequate warning of the risks of its valve permitting liquids from inside a

patient’s body cavity to travel inside the implant shell and spread infectious

agents; or

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(2). One or more of the aforesaid saline filled breast implants contained
inadequate warning of the risks of its valve allowing saline fluid to escape from
the implant shell causing the need for subsequent surgery to replace the implant.

106. Allergan’s breach of the duty or duties it owed to users of Natrelle saline filled
breast implants, including Ms. Katz, directly caused or contributed to cause Ms. Katz to suffer
bodily injury and resulting pain and suffering, mental anguish, disab.ility, disfigurement, and loss
of the capacity for the enjoyment of life, has incurred and will incur in the future expense of
hospitalization, medical and nursing care and treatment, and aggravation of a previously existing
condition These losses are permanent or continuing in uature, and she will suffer them in the
future

WHEREFORE, the Plaintiff, E.LIZABETH. E. _KATZ, demands judgment for damages
against the Defenclants, ALLERGAN, INC., ALLERGAN SALES, LLC, and ALLERGAN
USA, INC., together with the costs of this action, and the Plaintiff respectfully demands a trial
by jury on all issues so triable

CERTIFICATE OF REASONABLE INVESTIGATION

The undersigned counsel hereby certifies that he has made a reasonable investigation as
permitted by the circumstances which have given rise to a good faith belief that grounds exist for
the bringing of this action_

/s/ Christonher Shakib

Christoph er Shakil), Esquire

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Attomey for the Plaintiffs

 

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/s/ leslie A. Goller

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